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Dallas Division

._K m `; \w._».`.:"\'§`&

Emilio Sereseroz Jr
Plaintiff

 

3-14(¥"\72'723°®|

Civil Action NO.

V.

The Dept of va (sloan D Gibson)
Defendant

 

_CMLM

Falure to Treat ,Failure to Diagnoss : PTSD,TBI,HYPERTENSION,DJD,DDD,ANXIETY DISORDER,BIPOLOR DISORDER,VISION
LOSS,SNORING DISORDER, DENIED HI BLOOD PRESSURE fPAIN/SHOTS/ANTI DEPRESSION MEDlCATIONS.

 

 

 

 

* Attach additional pages as needed.

 

 

 

Date 7- 29- 2014

Signawr€ //O /,_, ,_M/L_¢, ,f,¢/U,a,\/.,\%/)
Print Name Emilio Sereseroz Jr /(/

Address 2101 N.Haskell Ave Apt 6208

 

City, State, Zip Dallas , TeXaS , 75204

 

Telephone 2147144372

 

 

dUN~l 1-2.’014 lU:b&l REGIONAL COUNSEL 2542375310 P.OOZ

Case 3:14-cV-02723-|\/|-BN Document 3 Filed 07/29/14 Page 2 of 4 Page|D 6

DEPARTMENT OF VETERANS AFFAIRS

Office of Regional Counsel
One Vetcrans Drive, Bldg. 7
Mincapolis, Ml\l 55417
ln Reply Rcfer l.o: VC-4359

 

Via Certilied-Mail, Rccurn-Rcccipl chucstcd
.lanuary 2.9, 2014

l\/lr. Ernilio Sercseroz, .lr.
Zl()l North Haskel| Ave., #6208
Dallas_. TX 75204

Re: Administrative Tort Claim

Dear Mr. Scrcscroz:

On September 30, 2013, you filed a SF-95 alleging that the Department ol` Veterans All`airs (VA)
has failed to diagnose and treat the following conditions: PTSD, TBI_. hypertension, dental
condition, deteriorating joint disease_. deteriorating disc disease tinnitus/hcaring loss_. anxiety
disorder, vision loss, bilateral wrist condition, bilateral knee condition, and arthritis. On laundry
l5, 2014, you sent in another SF-95 to include four more claims: bipolar disordcf, falu"¢ 10 give
hepatitis vaccination (last 2 shots), denied pain medical for absccss tooth condition, and denied
benefits for service connected dental/homelessncss/snorlng disorder.

We have thoroughly investigated the facts and circumstances surrounding your administrative
tort claim. Our adjudication ol" your claim included a review of your medical records, a review

of your claim by medical reviewers in different parts ot` the country, and intervich Of medical
pcrsonnel.

The i~"edera! Torl; Claims Act (FTCA_)_. 28 U.S.C. §§ l346(`b) and 2671-2680, under which you
liled your claim, provides for monetary compensation when a Govemrnent employee acting
within the scope of cmploymcnt, injures another by a negligent or wrongful act or omission
Mcdical negligence means there was a breach in thc standard of care and that breach proximately
caused an injury. The standard cf date is the level at which similarly qualified medical
profee~;ionaln would have managed the care under the name or similar circumstances.

Our review concluded that there was no negligent or wrongful act on the part of en employee of
the Depzmmenl of Vctcrans Afr`airs (VA) acting within the scope of his or her employment
Accordingly_, we deny your cleim.

To the extent your claim alleges wrongful denial of VA benciits_. the P“l`CA is not thc proper
venue for your Claim and there is no jurisdiction lo consider your claim under the FTCA. Th€
United States C.ourt oprpeals for Veterans Clnims has thc sole jurisdiction to review benefits
decisions and procedures. 38 U.S.C. § 511. It`an error did occur in relation to handling your
benefits, the Court ofVcterans Ciaims is the appropriate venue to decide the same

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Case 3:14-cV-02723-|\/|-BN Document 3 Filed 07/29/14 Page 3 of 4 Page|D 7

lf you are dissatisfied with this decision, you may tile a request for reconsideration of your claim
with thc VA Gcneral Counsel by any of the following means:

(1) by mail to the Department of Veterans Affairs, General Counsel (02 1 B), 810 Vcrmont
Avenue, N.W., Washington, DC 20420_;

(2) by data facsimile (_f`ax) to (202) 273-6385; Or

(3) by electronic mail (e-mail) to OGC.torts@mail.va.gO\/.

To be timeiy, VA must receive this request within six months of the mailing of this final denial.
The VA has six months to act on the reconsideration request Atter that time, you have thc
option ot` filing suit in an appropriate U.S. District Court under 28 U.S.C. §2675(3). 28 C.F.R. §
l4.9.

 

ln the altemative, if you are dissatisfied with the denial o'l` your claim_. you may tile suit directly
under thc FTCA, 28 U.S.C. §§ l346(b) and 2671-2680. The FTCA provides that when an
agency denies an administrative tort olaim_, the claimant may seek judicial relief in a chcral
district court. Thc claimant must initiate the suit within six months of the mailing of this notice
as shown by the date ot` this denial (28 U.S.C. § 240\ (b)). ln any lawsuit, thc proper party
defendant is the Unitecl Slatcs, not thc Dcpar'tmcnt of Veterans Aff`airs.

Sincere|y,

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Doris L. Gruntmeir
Regional Counsel

 

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rl`he JS 44 civil coversheet and the information contained herein neither replace nor supplement the filing and service of pleadngs oi' other papers as required by law, except as pl_)\_iid_ed
by local rules of couit. This foim, approved by the Judicial Confcrenee of the United States inSeptember 1974, is required for the use of the C1erk of Gourt for the purpose of initiating
the civil docket sheet /SEE INSTR UCTIONS 0N NEXT PA GE OF THlS FoRM_)

I. (a) PLAINTIFFS DEFENDANTS
Emi|io Sereserroz Jr United States of America

" Dept of Va (S|oan D.Gibson)
‘i

 

   
 

(b) County of Residence of First Listed Piaintiff Da|| , leg
(EXCEPTIN U.s. PLAINT£FE C.§;§Es“ _"”

w \County of Residence of First Listed Defendant I;)§llq§ County
(1N U.S. PLAINTIFF CASES ONLY)
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(For Diversity Cases Only) and One Baxfor Defendant)
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ofBusiness In Thi's State
ix 2 U.S, Govemment ij 4 Diversity Citizeu of Another State l:] 2 fl 2 Incorporated and Principal Place ij 5 |:l 5
Defendant (Indicate Ci`lizenship ofParties in llem III) of Business ln Another State
Citizen or Subject of a 13 3 111 3 Foreign Nation ij 6 13 6
Foreign Country

 

 

           
   
 

IV NATURE OF SUIT (Place an "X” in One Bo)c Only)

  
  

   

  
  

     
   

   
    

    

   

   

        
      

   
   

   

            
       

 

 

 

 

 

 

 

 

 

 

 

 

 

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3 120 Marine Cl 310 Airplane ij 365 Personal Injuiy - of Property 21 USC 881 l:l 423 Withdrawal Cl 400 State Reapportioriment
3 130 Miller Act ij 315 Airplane Product Product Liability ij 690 Other 28 USC 157 U 410 Antimist
il 140 Negotiable Instrument Liability ij 367 Health Care/ ij 430 Banks and Banking
13 150 Recovery of OVeIpaymcnt Cl 320 Assault, Libel & Pharmaceutical se ij 450 Commerce
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Cl 160 Stockholders’ Suits CI 355 Motor Vehicle fl 371 Truth in Lending |‘_'l 720 Labor/Mgmt. Relations ij 863 DIWC/DIWW (405(g)) ij 890 Gther Statutory Actions
El 190 Other Contract Product Liability El 380 Other Personal ij 740 Railway Labor Act El 864 SSID Title XVI Cl 891 Agricultural Acls
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El 240 Torts to Land ij 443 Housing/ 13 530 General 26 USC 7609 State Statutes
Cl 245 Tort Product liability Accommodations El 535 Deat_h Penalty y h y IMMGKATIO \ ' /, v
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Cite the U.S. Civil Statute under Which you are filing (Do nat cite jurisdictional statutes unless diversity):
VI C U E 0 A TIo 28 U.S.C.&&1346(b) and 2671-2680 and 28U.S.C. &2675(3), 28C.B.R&14.9
' A S F C N Brief description of cause;
FTCA
VII. REQUESTED IN Cl cHECK IF THIS is A cLAss ACTIoN DEMAND s CHECK YES only if demanded in complains
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: ij Yes Ei No
VIII. RELATED CASE(S)
(See instmctions):
PENDING OR CLOSED: JUDGE DoCKET NUMBER
DATE SIGNATURE OF ATTORNEY ()F RECORD
FOR OFFlCE USE ONLY

RECEIPT # AMOUNT APPLYING lFP IUDGE MAG. IUDGE

